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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                          )
COMMISSION,                                           )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )       Case No. 5:20-cv-1092
                                                      )
WELLPATH, LLC,                                        )
                                                      )
       Defendant.                                     )


       DEFENDANT WELLPATH’S ANSWER AND AFFIRMATIVE DEFENSES


       Defendant Wellpath LLC (“Wellpath”) file its Answer and Affirmative and other

Defenses to the Complaint in the above-captioned action as follows:

                                    JURISDICTION AND VENUE

       1.      Wellpath admits Plaintiff claims jurisdiction is proper in this Court under various

federal statutes and that Plaintiff also purports this action is authorized and instituted pursuant to

various federal statutes including, but not limited to, Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. 2000e-5(f)(1) and (3), but Wellpath denies that it has engaged in any

conduct that would give rise to jurisdiction in this Court or be subject to Plaintiff’s claims against

it.

       2.      Wellpath admits the employment practices alleged in the Complaint allegedly

occurred within the jurisdiction of this Court, but Wellpath denies it has engaged in any conduct

which would give rise to Plaintiff’s claims against it.
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                                              PARTIES

        3.      Admitted.

        4.      Admitted.

        5.      Admitted.

                              ADMINISTRATIVE PROCEDURES

        6.      Admitted.

        7.      Wellpath admits that, on or about August 13, 2020, the Commission issued to

Wellpath a Letter of Determination. Wellpath states the Letter of Determination speaks for

itself. However, Wellpath denies it has engaged in any conduct which would give rise to the

Letter of Determination by the Commission.

        8.      Wellpath admits that the Commission engaged in conciliation communications

with Wellpath following the issuance of the Letter of Determination and that those

communications speak for themselves. However, Wellpath denies it has engaged in any conduct

which would give rise to the Letter of Determination by the Commission or the subsequent

conciliation communications between the Commission and Wellpath regarding the same.

        9.      Wellpath admits that neither party agreed on the terms of conciliation.

        10.     Wellpath admits that, on or about August 25, 2020, the Commission issued to

Wellpath a Notice of Failure of Conciliation. Wellpath states the Notice speaks for itself.

        11.     Wellpath admits that Plaintiff purports that all conditions precedent to the

institution of this lawsuit have been fulfilled.

                                   STATEMENT OF CLAIMS

        12.     Wellpath lacks knowledge and information sufficient to form a belief as to the

truth of whether Plaintiff has a “sincerely held Apostolic Pentecostal Christian” belief and to the




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allegations contained in the last sentence of Paragraph 12 of the Complaint, and therefore, deny

the same. Wellpath denies each and every remaining allegation contained in Paragraph 12 of the

Complaint.

       13.      Wellpath denies each and every allegation contained in Paragraph 13 of the

Complaint.

       14.      Wellpath denies each and every allegation contained in Paragraph 14 of the

Complaint.

       15.      Wellpath denies each and every allegation contained in Paragraph 15 of the

Complaint.

       16.      All allegations in Plaintiff’s Complaint not expressly admitted are hereby denied.

       17.      Defendants deny Plaintiff is entitled to any relief prayed for in the Complaint.

                              AFFIRMATIVE AND OTHER DEFENSES

       Subject to and without waiving any prior objection, answers or defenses, and without

accepting the burden of proof on the matters, Wellpath states the following affirmative and other

defenses:

                                        FIRST DEFENSE

       The Complaint, in whole or in part, fails to state a claim upon which relief can be

granted.

                                       SECOND DEFENSE

       To the extent that Plaintiff’s claims are barred in whole or in part by the doctrines of

unclean hands and/or waiver, Plaintiff is barred from pursuing such claims.

                                        THIRD DEFENSE

       Plaintiff’s lawsuit is barred, in whole or in part, by the applicable statute of limitations.




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                                     FOURTH DEFENSE

        Plaintiff is estopped by her own acts, conduct, or omissions from asserting some or all of

her claims.

                                        FIFTH DEFENSE

        To the extent any intentional acts occurred, the occurrence of which Wellpath denies,

those acts occurred wholly and entirely outside the scope or course of the actor’s employment

with Wellpath, were not authorized or sanctioned by Wellpath, and Wellpath, therefore, is not

liable to Plaintiff for such acts.

                                        SIXTH DEFENSE

        Wellpath asserts the affirmative defenses of res judicata, collateral estoppel, judicial

estoppel, and waiver, as these defenses may be developed during the course of this litigation.

                                     SEVENTH DEFENSE

        Plaintiff’s damages are barred in whole or in part by the doctrines of after-acquired

evidence or unclean hands. To the extent Wellpath acquires evidence about Plaintiff that would

have disqualified Plaintiff from being hired or would have resulted in her termination if Wellpath

had known, Plaintiff is not entitled to damages and/or equitable relief based upon this after-

acquired evidence should she prevail.

                                        EIGHTH DEFENSE

        Even assuming that Wellpath’s actions concerning Plaintiff’s employment were partially

influenced by some unlawful motive, though they were not, Wellpath nonetheless would have

taken the same employment actions with respect to Plaintiff even in the absence of such unlawful

motive.




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                                        NINTH DEFENSE

          Wellpath has an effective and well-disseminated policy prohibiting discrimination and

prohibiting reprisals and retaliation against those bringing complaints thereunder, and this policy

provides a reasonably available procedure by which Plaintiff could bring complaints and such

complaints would be subject to prompt remedial action reasonably calculated to end such alleged

acts. To the extent Plaintiff failed to avail herself of this policy, her claims and damages are also

barred.

                                        TENTH DEFENSE

          Wellpath’s decisions concerning Plaintiff’s employment were based upon legitimate non-

discriminatory and non-retaliatory business reasons, completely unrelated to Plaintiff’s exercise

of her protected rights, if any.

                                     ELEVENTH DEFENSE

          Plaintiff’s requested accommodation would have caused an undue hardship on Wellpath.

                                       TWELTH DEFENSE

          Wellpath could not have reasonably accommodated Plaintiff’s requested accommodation.

                                    THIRTEENTH DEFENSE

          While Plaintiff was not offered a contract for performance, nor does one exist or alleged

here, Plaintiff’s requested accommodation would have created an impossibility of performance

due to the dress code maintained by the entity that operated the facility at which Plaintiff applied

to work.




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                                  FOURTEENTH DEFENSE

       Although Wellpath denies Plaintiff is entitled to any relief, Plaintiff has failed to take

reasonable steps to minimize or mitigate her alleged damages and may not recover any damages

she could have avoided. To the extent Plaintiff has mitigated her alleged damages, she may not

recover for any alleged damages she has mitigated.

                                 RESERVATION OF RIGHTS

       Wellpath reserves the right to modify and supplement its defenses and to plead additional

defenses to Plaintiff's claims based upon such facts and circumstances as become known to it

subsequent to the date hereof.

       WHEREFORE, having fully answered the Complaint, Wellpath respectfully requests

that the Complaint be dismissed with prejudice, that it be awarded its costs, including attorneys’

fees, in the amount and manner permitted by applicable law, along with such other and further

relief as the Court may deem just and proper.

                                             Respectfully submitted,

                                             /s/ Buena Vista Lyons
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                                             mstamelos@fordharrison.com
                                             Counsel for Defendant

                                CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing was served on the

following attorneys of record via the Court’s ECF filing system this 7th day of December 2020:

Sharon Fast Gustafson
General Counsel
Robert Canino
Acting Deputy General Counsel
Gwendolyn Y. Reams
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                                                     s/Mark E. Stamelos
                                                     Counsel for Defendant

WSACTIVELLP:11884948.1




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